                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WISCONSIN

RUSSELL A. WILLIAMS,

                        Plaintiff,

                v.                                              Case No. 20-C-1669

LOUS DEJOY,

                        Defendant.


           ORDER DENYING MOTION TO PROCEED IN FORMA PAUPERIS


        On November 4, 2020, Plaintiff Russell A. Williams filed a complaint against Defendant

Louis DeJoy and has requested leave to proceed in forma pauperis, pursuant to 28 U.S.C. § 1915.

An indigent plaintiff may commence a federal court action, without paying required costs and fees,

upon submission of an affidavit asserting an inability “to pay such fees or give security therefor”

and stating “the nature of the action, defense or appeal and affiant’s belief that the person is entitled

to redress.” 28 U.S.C. § 1915(a)(1). Plaintiff filed the required affidavit of indigence.

        Upon review of that affidavit, it appears Plaintiff has a total monthly income of $1,854.60

and has $1,145.14 in his checking account, $20,173.41 between two IRAs, and $48,661.85 in

stocks. Based on this information, Plaintiff does not appear to be indigent. Rather, the motion

indicates an ability to pay the full filing fee. Consequently, Plaintiff’s motion for leave to proceed

without prepayment of the filing fee (Dkt. No. 2) is DENIED. Plaintiff shall pay the filing fee

within 21 days of the date of this order or risk dismissal.

        SO ORDERED at Green Bay, Wisconsin this 6th day of November, 2020.

                                                        s/ William C. Griesbach
                                                        William C. Griesbach
                                                        United States District Judge




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